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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA




    UNITED STATES OF AMERICA

      v.                                               Case No. 21-cr-150-TFH

    JAMES DOUGLAS RAHM, JR.,

          Defendant.

                       GOVERNMENT’S SENTENCING MEMORANDUM

           The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. For the reasons set forth herein, the government requests that this

Court sentence James Douglas Rahm, Jr. to a sentence of 21 months’ incarceration, the high end

of the applicable Guidelines range of 15 to 21 months, three years of supervised release, $2,000 in

restitution and the mandatory $100 special assessment.

     I.       INTRODUCTION

           James Douglas Rahm, Jr. (“Rahm”) participated in the January 6, 2021 attack on the United

States Capitol—a violent attack that forced an interruption of the certification of the 2020 Electoral

College vote count, threatened the peaceful transfer of power after the 2020 Presidential election,

injured more than one hundred police officers and resulted in more than $2.8 million in losses.1

           Rahm’s conduct targeted the police and Members of Congress – and like the conduct of


1
 As of October 17, 2022, the approximate losses suffered as a result of the siege at the United
States Capitol was $ 2,881,360.20. That amount reflects, among other things, damage to the United
States Capitol building and grounds and certain costs borne by the United States Capitol Police.

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every rioter that day, threatened democracy itself. Rahm, posted on Facebook, “They’re in there

counting the electoral votes we have the building surrounded we’re ready to make a breach and

take our Capitol back.” He then entered the Capitol through the East Rotunda Doors after rioters

on the inside shoved police out of the way and opened the doors for Rahm and the cohort on the

portico. Once inside, Rahm recorded himself stating, “Time to find some brass and kick some

friggin’ ass.” Rahm also celebrated halting the certification of the 2020 Electoral College vote

count.

            The government recommends that the Court sentence Rahm to 21 months’ incarceration,

which is the high end of the advisory Guidelines’ range of 15 to 21 months. A 21-month sentence

reflects the gravity of Rahm’s conduct, which, while not resulting in lasting physical injury or

property damage, nonetheless threatened to cause both – to say nothing of the psychological scars

of the many victims of the riot and damage to the institution of democracy.

      II.        FACTUAL BACKGROUND

            A.     Rahm’s Role in the January 6, 2021 Attack on the Capitol

            As set out more fully in the statement of facts for stipulated trial (See ECF No. 57), Rahm

participated in the attack on the United States Capitol, an attack that disrupted the peaceful transfer

of power after the November 3, 2020 presidential election and caused extensive damage and injury.

            Rahm travelled with his adult son2 from his home in Philadelphia to Washington, D.C. on

January 5, 2021 to attend the rally at the Ellipse for then-President Trump the next day. On the

night of January 5, Rahm encountered a group of men he assumed were Proud Boys. Rahm posted

on Facebook that he was “hanging with the Proud Boys” reportedly to impress his Facebook


2
    See United States v. James Douglas Rahm, III, 21-cr-585.

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friends.

       On January 6, 2021, Rahm and his son were not able to enter the rally at the Ellipse, so he

joined the throng marching to the Capitol, making his way to the east side of the Capitol building.

At some point prior to his entering the Capitol, Rahm and his son were separated. There, Rahm

took a photo of the Capitol and posted it on Facebook and wrote, “They’re in there counting the

electoral votes we have the building surrounded we’re ready to make a breach and take our Capitol

back.” See Image 1, below.




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                                              Image 1

       Although the east side of the Capitol was not as chaotic as the west side at this point, police

officers are clearly visible in the photograph standing between Rahm and the Capitol and physical

barriers were in place as depicted in Image 2, below:




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                                             Image 2

       After rioters broke through the police line on the east side, Rahm climbed the steps and

joined rioters outside the East Rotunda Doors. There, Rahm yelled to the crowd, “I think we

stopped the vote” to which people around him cheered.

       Rahm also filmed a video wherein he stated, “We broke the door down. We’re going in.

My eyes hurt like shit from that pepper spray, but we’re going in.” The East Rotunda Doors had

essentially been broken down. While Rahm and other rioters on the portico and outside the east

side of the Capitol demanded entry to the closed and restricted building, police officers barricaded

the East Rotunda Doors from within to keep them closed and secured. However, a mob of rioters

already on the inside of the Capitol shoved aside the barricades and as a group, pushed the police

officers out of the way. With police removed, the rioters opened the East Rotunda Doors at

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approximately 2:37 p.m. allowing hundreds of rioters to stream in, including Rahm at

approximately 2:43 p.m. See Image 3, below.




                                            Image 3

       Once inside, Rahm walked straight into the Rotunda toward Statuary Hall where he filmed

a video in which he loudly and disruptively proclaimed, “We’re in. We’re taking our fucking house

back. We’re here. Time to find some brass and kick some friggin’ ass.” While in the Rotunda,

Rahm is seen recording and parading with his flag. See Image 4, below.




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                                     Image 4

         Rahm walked through Statuary Hall to the Statuary Hall Connector. See Image 5,

below:




                                     Image 5
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         In the Statuary Hall Connector, right outside the House of Representatives Chamber, Rahm

joined yet another group of rioters outside the House Chamber as they attempted to gain access to

the House Chamber where members of Congress were sheltering. Rioters chanted, “Break it

down” in reference to the House Chamber Door. Rahm turned around and proceeded back whence

he came, trespassing through non-public areas of the Capitol. See Image 6, below.




                                             Image 6

         Rahm exited the U.S. Capitol at approximately 2:53 p.m. through the East Rotunda Doors

having spent approximately 11 minutes inside the Capitol building on January 6. See Image 7,

below.




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                                              Image 7

                        Rahm’s Social Media Statements About January 6

       Once outside the building, but still within the restricted grounds, Rahm took a “selfie”

photograph and posted it on Facebook, celebrating the criminal activity for which he was just

responsible, “do not believe the media there were no anarchists no antifa just patriots trying to take

our country back. Yes I was there the pepper spray is just wearing off…” See Image 8, below.




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                                             Image 8

       He offered further braggadocious celebration of his criminal exploits online, proclaiming,

“riot Shields and pepper spray never hurt anyone did they. Home alive. History made. I walked

right through Pelosi’s office I should have shit on her chair (3 laughing emojis)”:




       Rahm also minimized and justified his and other rioters’ actions on January 6, stating,

“From my experience it was Patriot’s (sic) trying to take our house back. Nobody burned anything,

nobody broke anything except for a door and the window. All the papers running all over in the

offices we’re (sic) done for news cameras we destroyed nothing we didn’t knock over one piece

of paper only the front door. We the people tried to take our house back now they will blame it on




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Trump. Disgusting anti-Americans”:




       B.      Rahm’s Interview with the FBI

       On February 5, 2021, FBI agents interviewed Rahm. During the voluntary interview, he

sought to minimize his involvement in the riot with statements that are contradicted by video

evidence. Specifically, Rahm initially denied that he entered the Capitol and claimed that he only

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made it to the steps of the building. After being informed that the FBI had video evidence of him

inside the Capitol, Rahm next claimed that he was involuntarily pushed into the Capitol by the

large crowd of which he was a part, and that he exited the Capitol the moment he found an exit.

This claim is, of course, belied by the video evidence submitted at the stipulated trial, which shows

Rahm enter the Capitol of his own free will, as well as Rahm’s own video in which he proclaimed

while marching through the Rotunda, “We’re in. We’re taking our fucking house back. We’re here.

Time to find some brass and kick some friggin’ ass.”

          Rahm also claimed to the FBI that his son had not entered the Capitol building. In fact, he

and his son had separated after arriving at the Capitol and did not find each other again until the

end of the day. The FBI was in possession of video evidence that showed his son inside the

Capitol, as well.

          Even a month later, Rahm continued in his belief that anyone who stood against what

happened on January 6 was “anti-American.” He told the FBI it was unamerican for the

government to be on a “manhunt” for people who entered the Capitol on January 6.

          Rahm also boasted to the FBI that he was arrested in Arizona for marijuana smuggling in

the early 1980's and was freed after bribing the judge by paying him $25,000. Rahm also detailed

previously living a lavish lifestyle in the 1980's from being a drug dealer, oftentimes smuggling

large quantities drugs into the U.S. from Mexico. It is noted that despite advising the FBI of this,

Rahm did not mention any of this personal history to probation during the PSI interview.

   III.      INDICTMENT AND PLEA AGREEMENTS

          On November 10, 2021, the grand jury returned a superseding indictment charging Rahm

with Obstruction of an Official Proceeding, in violation of 18 U.S.C. § 1512(c)(2) and (2), and


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four misdemeanors, including Entering and Remaining in a Restricted Building or Grounds,

Disorderly and Disruptive Conduct in a Restricted Building or Grounds, Disorderly Conduct in a

Capitol Building and Parading, Demonstrating or Picketing in a Capitol Building. ECF No. 26.

On October 13, 2022, Rahm proceeded to a trial on stipulated facts and this Court found him guilty

of all counts of the superseding indictment. October 13, 2022 Minute Entry.

   IV.      STATUTORY PENALTIES

         As noted by the U.S. Probation Office, Rahm faces up to 20 years of imprisonment, a fine

up to $250,000, and a term of supervised release of not more than three years for Count One,

Obstruction of an Official Proceeding.

         Rahm faces up to 1 year imprisonment, a fine of up to $100,000, and a term of supervised

release of not more than one year for Counts Two and Three, Entering and Remaining in a

Restricted Building or Grounds and Disorderly and Disruptive Conduct in a Restricted Building

or Grounds, respectively.

         Rahm faces up to 6 months imprisonment, a fine of up to $5,000, and a term of probation

of not more than five years for Counts Four and Five, Disorderly Conduct in a Capitol Building

and Parading, Demonstrating, or Picketing in a Capitol Building, respectively.

   V.       THE SENTENCING GUIDELINES AND GUIDELINES ANALYSIS

         As the Supreme Court has instructed, the Court “should begin all sentencing proceedings

by correctly calculating the applicable Guidelines range.” United States v. Gall, 552 U.S. 38, 49

(2007). “As a matter of administration and to secure nationwide consistency, the Guidelines should

be the starting point and the initial benchmark” for determining a defendant’s sentence. Id. at 49.

The United States Sentencing Guidelines (“U.S.S.G.” or “Guidelines”) are “the product of careful


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study based on extensive empirical evidence derived from the review of thousands of individual

sentencing decisions” and are the “starting point and the initial benchmark” for sentencing. Id. at

49.

      1. Probation Correctly Calculated the Advisory Guideline Range in this Case.

         Probation’s Guidelines analysis, to which the government agrees, follows:


         Count One: 18 U.S.C. § 1512(c)(2)

                U.S.S.G. § 2J1.2(a)           Base Offense Level                            14

                U.S.S.G. § 2J1.2(b)(2)        Resulted in Substantial Interference          +3

                                                                            Total           17

         Acceptance of responsibility (U.S.S.G. §3E1.1)                                     -3

         Total Adjusted Offense Level:                                                      14


         The U.S. Probation Office calculated Rahm’s criminal history as category I, which the

government does not dispute. PSR ¶ 64. Accordingly, based on the calculation of Rahm’s total

adjusted offense level, after acceptance of responsibility, at 14, his Guidelines imprisonment range

is 15 to 21 months’ imprisonment.

      2. Contrary to Rahm’s Claim, the certification of the Electoral College vote involved the
         administration of justice as defined broadly in the Guidelines.

         Rahm “objects to ⁋49 of the PSR, which applies U.S.S.G. § 2J1.2(b)(2) for substantial

interference with the administration of justice, “specifically, the proceeding before Congress, to

wit: Congress’s certification of the Electoral College vote,” which adds three levels to his base

offense level of 14. His objection is meritless and this Court should apply the three-point

enhancement for substantially interfering with the administration of justice, under U.S.S.G. §

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2J1.2(b)(2). Rahm’s conduct obstructed the “administration of justice,” as that term is used in the

Guidelines, because it obstructed the certification of the Electoral College vote. The riot, of which

Rahm was a part, resulted in evacuations, vote count delays, officer injuries, and more than $2.8

million in losses.

        Section 2J1.2, entitled “Obstruction of Justice,” applies to a variety of obstruction offenses,

including all offenses under § 1512 and under 11 other statutes found in Chapter 73 of Title 18.

See U.S.S.G. § 2J1.2 cmt.; U.S.S.G. Appendix A. It provides for an eight-level increase if the

offense involved causing or threatening injury to a person or damage to property “in order to

obstruct the administration of justice.” U.S.S.G. § 2J1.2(b)(1)(B). It also provides for a three-

level increase “if the offense resulted in substantial interference with the administration of justice.”

U.S.S.G. § 2J1.2(b)(2).

        Section 2J1.2’s text, purpose, and commentary all support the conclusion that conduct that

obstructs Congress’s certification of the Electoral College vote interferes with the “administration

of justice” for purposes of the guideline. Administration of justice, in its broadest sense, refers to

the proper administration of law by all three branches of government. Black’s Law Dictionary

defines “justice” to include “[t]he fair and proper administration of laws,” and it defines

“obstruction of justice” as “[i]nterference with the orderly administration of law and justice.”

Black’s Law Dictionary (11th ed. 2019); see Ballentine’s Law Dictionary 696 (3d ed. 1969)

(defining justice to include “exact conformity to some obligatory law”).               When defining

“contempt” to include “[c]onduct that defies the authority or dignity of a court or legislature,”

Black’s Law Dictionary observes that “such conduct interferes with the administration of justice.”

Black’s Law Dictionary (11th ed. 2019) (emphasis added).                  And courts have defined


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“administration of justice” to mean “the performance of acts or duties required by law,” Rosner v.

United States, 10 F.2d 675, 676 (2d Cir. 1926) (quotation omitted), or “the performance of acts

required by law in the discharge of duties,” United States v. Partin, 552 F.2d 621, 641 (5th Cir.

1977).

         To be sure, the term “administration of justice” is more commonly used in a narrower sense

to refer to “interference with the pendency of some sort of judicial proceedings.” In re Kendall,

712 F.3d 814, 828 (3d Cir. 2013); see In re McConnell, 370 U.S. 230, 234, 236 (1962) (defining

the term in the contempt context as relating to “the performance of judicial duty”); United States

v. Aguilar, 515 U.S. 593 (1995) (stating that the “omnibus clause” of 18 U.S.C. § 1503, which

criminalizes obstruction of the “due administration of justice,” requires proof of “an intent to

influence judicial or grand jury proceedings”).       The cases cited by Rahm have interpreted

“administration of justice” in the context of § 1503 but not the Guidelines. It is simply not true

that a statutory definition must carry over to the Guidelines. DePierre v. United States, 564 U.S.

70, 87 (2011) (interpreting statutory term differently than same term in the Guidelines, even though

sentencing anomalies might result). But there are compelling reasons for concluding that

“administration of justice” bears its broader (albeit less common) meaning in U.S.S.G. § 2J1.2.

         First, § 2J1.2’s context and purpose support the broader reading of “administration of

justice” in both (b)(2) and (b)(1)(B). Section 2J1.2 applies to an array of obstruction statutes,

including a number that do not involve the “administration of justice” in the narrow sense (i.e.,

relating to judicial or quasi-judicial proceedings). See U.S.S.G. § 2J1.2 cmt. (listing covered

statutes); U.S.S.G. Appendix A (statutory index). Those offenses include concealing or destroying

invoices or papers relating to imported merchandise, 18 U.S.C. §§ 551; obstructing an


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investigation under the Workforce Innovation and Opportunity Act, 18 U.S.C. § 665(c);

obstruction of proceedings before departments, agencies, and committees, 18 U.S.C. § 1505;

obstruction of enforcement of state gambling laws, 18 U.S.C. § 1511; obstruction of official

proceedings, 18 U.S.C. 1512; obstruction of a federal audit, 18 U.S.C. § 1516; destruction of

documents in agency investigations, 18 U.S.C. § 1519; and interfering with the administration of

the Internal Revenue Code, 26 U.S.C. § 7212. Yet under a narrow interpretation of the guideline,

the enhancements under §§ 2J1.2(b)(1)(B) and (b)(2) would not apply to those statutes. That is

good reason to reject such a reading. Cf. United States v. Castleman, 572 U.S. 572 U.S. 157, 167

(2014) (rejecting a reading of 18 U.S.C. § 922(g)(9) that “would have rendered [it] inoperative in

many States at the time of its enactment”).

       Section 2J1.2’s background indicates that the Sentencing Commission intended the

enhancements to reach the type of violent and dangerous conduct at issue in this case. The

background notes that § 2J1.2 broadly covers crimes “of varying seriousness,” including offenses

that involve intercepting grand jury deliberations, interfering with an illegal gambling

investigation, or obstructing “a civil or administrative proceeding,” and that the underlying

conduct may “range from a mere threat to an act of extreme violence.” U.S.S.G. § 2J1.2 cmt.

Background. Within that range, the enhancements “reflect the more serious forms of obstruction.”

Id. The Commission thus crafted the enhancements in § 2J1.2 to cover the most egregious conduct

in the full knowledge that obstruction-of-justice offenses are not limited solely to interference with

judicial proceedings and the fact that the enhancement has often been applied in the context of

obstruction of judicial or investigative proceedings does not dictate whether it also applies to

obstruction of congressional proceedings.


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       Relatedly, limiting subsection (b)(1)(B)’s and (b)(2)’s enhancements to obstruction of

judicial proceedings would undermine the purpose of the Guidelines. “A principal purpose of the

Sentencing Guidelines is to promote uniformity in sentencing imposed by different federal courts

for similar criminal conduct.” Hughes v. United States, 138 S. Ct. 1765, 1774 (2018). The

Guidelines therefore seek to achieve “a strong connection between the sentence imposed and the

offender’s real conduct.” United States v. Booker, 543 U.S. 220, 246 (2005). The Sentencing

Commission quite reasonably determined, for example, that “causing or threatening physical

injury to a person, or property damage, in order to obstruct the administration of justice” is more

serious than obstruction not involving such injury or threats and should be punished more severely.

U.S.S.G. § 2J1.2(b)(1)(B). And the seriousness of the threatening or injurious conduct does not

depend on whether the obstructed proceeding is judicial, legislative, or executive. There is no

sound basis for assigning a significantly higher offense level to someone who substantially

interferes with a court proceeding than someone who substantially interferes with a congressional

proceeding. See United States v. Rubenacker, 21-cr-193 (BAH), May 26, 2022 Sentencing

Hearing Tr. at 69 (“There is simply no indication in guideline Section 2J1.2 that the [specific

offense characteristics] containing the phrase ‘administration of justice’ were meant to apply to

only some of the statutes referenced to this guideline and not to apply to all of the cases involving

obstruction of proceedings taking place outside of courts or grand juries; that simply doesn’t make

sense.”)

       This is especially true considering that subsections (b)(1)(B) and (b)(2) are not simply two

factors among many but are the key sentencing factors in most obstruction cases. The three other

enhancements in § 2J1.2 have limited application. Subsections (b)(1)(A) and (b)(1)(C) apply only


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to violations of § 1001 and § 1505 relating to sex or terrorism offenses. And subsection (b)(3), a

comparatively minor two-level increase, applies only where a document was destroyed or altered

or the offense was “extensive in scope, planning, or preparation.” U.S.S.G. § 2J1.2(b)(3). Reading

the enhancements in subsection (b)(1)(B) and (b)(2) as applying only to judicial or quasi-judicial

proceedings would fail to distinguish between the seriousness of offenders’ conduct in a wide

variety of obstruction offenses covered by § 2J1.2.           On the other hand, reading the term

“administration of justice” more broadly eliminates this gap in the guideline.

        Second, Section 2J1.2’s commentary provides a broad definition of “administration of

justice.” It defines “[s]ubstantial interference with the administration of justice” to include “a

premature or improper termination of a felony investigation; an indictment, verdict, or any judicial

determination based on perjury, false testimony, or other false evidence; or the unnecessary

expenditure of substantial governmental or court resources.” U.S.S.G. § 2J1.2 cmt. n.1 (emphasis

added). This definition includes interference not only with “court” resources, but also with any

“governmental” resources, a term that includes congressional resources. Rahm’s analogy of

severely vandalizing a public playground does not follow since the offense must involve the

obstruction of an official proceeding for 2J1.2 to apply. The Supreme Court has held that

“commentary in the Guidelines Manual that interprets or explains a guideline is authoritative

unless it violates the Constitution or a federal statute, or is inconsistent with, or a plainly erroneous

reading of, that guideline.” Stinson v. United States, 508 U.S. 36, 38 (1993). Because this

commentary is consistent with the plain text of the Guideline, which uses the broad term

“administration of justice,” it is authoritative.




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       The government is not estopped from taking a position on the meaning of “administration

of justice” in the Guidelines simply because it argued that “official proceeding” does not require

the “administration of justice” as that term has been interpreted in the context of § 1503. As the

Supreme Court has made clear, the same term can have different meanings in different contexts.

And the government in the litigation over the meaning of “official proceeding” made no

representation about the meaning of “administration of justice” in § 2J1.2.

       Obstruction of the Electoral College certification vote on January 6, 2021 falls comfortably

within the meaning of “administration of justice” as used in § 2J1.2 because it involved Congress’s

performance of duties required by law. Specifically, Congress’s certification of the Electoral

College vote was an official proceeding required by both the Constitution and federal statutes.3

See U.S. Const. art. II, § 1, cl. 3; 3 U.S.C. §§ 15-18. Application of 2J1.2(b)(1)(B) is therefore

appropriate here.

       Other courts have appropriately applied the “administration of justice” enhancements in

U.S.S.G. § 2J1.2(b)(2) to efforts to obstruct a wide range of proceedings that were not limited to

judicial or grand jury proceedings. See United States v. Ali, 864 F.3d 573, 574 (7th Cir. 2017)

(upholding the application of § 2J1.2(b)(2) after law enforcement officials expended substantial



       3
         Chief Judge Howell has articulated a different basis on which to apply the enhancement
to obstruction of the Electoral College certification. United States v. Rubenacker, 21-cr-193
(BAH), Sentencing Hearing Tr. at 69. She pointed out that Black’s Law Dictionary defines
“administration of justice” to include the “maintenance of right within a political community by
means of the physical force of the state,” Black’s Law Dictionary (11th ed. 2019), and observed
that the joint session of Congress used “‘the physical force of the state’ in the form of law
enforcement officers located in and around the Capitol to secure the proceedings.” Rubenacker,
Sentencing Tr. at 75. This understanding of the guideline is arguably broader than the
interpretation advanced by the government because it could apply to any proceeding (or event) at
which there was a police presence, rather than being limited to proceedings involving the
administration of the law.
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resources to recover the defendant’s children he kidnapped and transported internationally); United

States v. Atlantic States Cast Iron Pipe Co., 627 F. Supp. 2d 180, 205-08 (D.N.J. 2009) (applying

§ 2J1.2(b)(2) after a defendant interfered with OSHA investigations into a workplace accident);

United States v. Weissman, 22 F. Supp. 2d 187, 194-98 (S.D.N.Y. 1998) (applying § 2J1.2(b)(2)

after a defendant withheld subpoenaed documents from a congressional subcommittee).

       The fact that the Sentencing Commission did not amend § 2J1.2 after the passage of the

Sarbanes-Oxley Act is of no moment. The guideline already applied to a variety of non-judicial

proceedings at the time-including most or all of the statutes cited herein-and the Sentencing

Commission correctly understood the guideline to apply to the new offense created under §

1512(c)(2), as well.

       It is true that “official proceeding” is not synonymous with “administration of justice.” But

in the context of Guidelines § 2J1.2, which is labeled “Obstruction of Justice” and is designed to

cover all offenses under § 1512 (and many other non-judicial obstruction offenses), the terms

“obstruction” or “interference” with the “administration of justice” should be understood to

include obstruction of official proceedings. Several judges on this Court have applied § 2J1.2’s

“administration of justice” enhancements in cases arising from the Capitol breach on January 6,

both in cases where the parties agreed to their application and where the application was contested.

See, e.g., United States v. Wilson, No. 21-cr-345 (Lamberth, J.); United States v. Hodgkins, No.

21-cr-188 (Moss, J.); United States v. Fairlamb, No. 21-cr-120 (Lamberth, J.); United States v.

Chansley, No. 21-cr-003, (Lamberth, J.); United States v. Matthew Miller, No. 21-cr-075 (Moss,

J.) (uncontested, but independently addressed by the Court); United States v. Rubenacker, No. 21-

cr-193 (BAH) (contested); United States v. Guy Reffitt, No. 21-cr-032 (Friedrich, J.) (contested);


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United States v. Pruitt, No. 21-cr-23 (Kelly, J.); United States v. Robertson, 21-cr-34 (Cooper, J.)

(contested).

       Accordingly, the three-level upward adjustment for substantial interference under U.S.S.G.

§ 2J1.2(b)(2) is properly scored.

               VI. SENTENCING FACTORS UNDER 18 U.S.C. § 3553(A)

       Under 18 U.S.C. § 3553(a), the factors this Court must consider when imposing a sentence

include the nature and circumstances of the offense, § 3553(a)(1); the history and characteristics

of the defendant, id.; the need for the sentence to reflect the seriousness of the offense and promote

respect for the law, § 3553(a)(2)(A); the need for the sentence to afford adequate deterrence,

§ 3553(a)(2)(B); and the need to avoid unwarranted sentence disparities among defendants with

similar records who have been found guilty of similar conduct, § 3553(a)(6). In this case, the

Section 3553(a) factors weigh in favor of a term of incarceration.

       A.      Nature and Circumstances of the Offense

       The attack on the U.S. Capitol, on January 6, 2021 is a criminal offense unparalleled in

American history. It represented a grave threat to our democratic norms; indeed, it was one of the

only times in our history when the building was literally occupied by hostile participants. By its

very nature, the attack defies comparison to other events.

       While each defendant should be sentenced based on his or her individual conduct, each

individual who entered the Capitol and assaulted police on January 6 did so under the most extreme

of circumstances, to which their conduct directly contributed. As a person entered the Capitol, they

would—at a minimum—have crossed through numerous barriers and barricades, heard the throes

of a mob, and smelled chemical irritants in the air. Depending on the timing and location of their


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approach, in addition to their own acts of violence, they likely would have observed other extensive

fighting with police.

       While looking at Rahm’s individual conduct, this Court should look to a number of critical

factors, to include: (1) whether, when, how the defendant entered the Capitol building; (2) whether

the defendant encouraged violence; (3) whether the defendant encouraged any acts of property

destruction; (4) the defendant’s reaction to acts of violence or destruction; (5) whether during or

after the riot, the defendant destroyed evidence; (6) the length of the defendant’s time inside of the

building, and exactly where the defendant traveled; (7) the defendant’s statements in person or on

social media; (8) whether the defendant cooperated with, or ignored, law enforcement; and (9)

whether the defendant otherwise exhibited evidence of remorse or contrition. While these factors

are not exhaustive nor dispositive, they help to place each individual defendant on a spectrum as

to their fair and just punishment.

       Rahm’s role in the January 6 attack merits a substantial term of incarceration. He entered

the Capitol with the intent to “kick some friggin’ ass,” after proceeding through “riot shields and

pepper spray.” He repeatedly boasted online about breaking down the doors to the Capitol and

pushing through the pain in his eyes from the pepper spray to stop the vote. Though he now claims

to have embellished, he celebrated his conduct in the immediate aftermath, but then lied to the FBI

about what he had done and where he had gone on January 6. He was very briefly outside the

House Chamber Door as rioters attempted to get access to the Chamber wherein members of

Congress were sheltering. All while offering his own soundtrack to add gloss to his intent,

including: “They’re in there counting the electoral votes we have the building surrounded we’re

ready to make a breach and take our Capitol back” and “I walked right through Pelosi’s office I


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should have shit on her chair (3 laughing emojis).”

         Rahm’s pride in what he did on January 6 is reflected in his words and memorialized in his

videos and online posts. None better than his words in one online post, “Home alive. History

made. I walked right through Pelosi’s office I should have shit on her chair (3 laughing emojis).”

Participating in the worst attack on the Capitol since the War of 1812 certainly made history, but

not in the way Rahm believes. Incredibly, and without a hint of irony, in one of his online posts,

Rahm called those who did not violently attack the nation’s seat of democracy, “Disgusting anti-

Americans.” Not only is his attempted romanticizing of what happened on January 6 factually

incorrect, it betrays Rahm’s sense he was embarking on a noble endeavor. He could not be more

wrong.

         Rahm’s activities at the Capitol, his desire to broadcast his behavior and celebrate it, his

pride in his actions, and his lying to the FBI all demonstrate the need for incarceration.

         B. Rahm’s History and Characteristics

         Rahm is in Criminal History Category I, but not because this is his first criminal conviction.

To the contrary, he has a prolific and varied criminal record. Rahm’s criminal history began with

a 1977 arrest and 1978 conviction for possession of a controlled substance and manufacture/deliver

or possess with intent to manufacture/deliver a controlled substance, for which he received two

years’ probation. PSR ¶ 59.

         In 1981, Rahm was sentenced to one year probation for possessing an instrument of crime

in Philadelphia for forcing his way into a home, threatening the victim with a pair of nun chucks

and striking the victim once. PSR ¶ 60.

         In 1982, Rahm was convicted of possession of marijuana after a driving while intoxicated


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investigation found him in possession of the substance. PSR ¶ 61.

       In 1987, Rahm was sentenced to three years’ probation in Arizona for solicitation to sell

marijuana. PSR ¶ 62.

       In 1992, Rahm was convicted in District Court for the Eastern District of Pennsylvania of

conspiracy to smuggle marijuana and was sentenced to five years’ probation. PSR ¶ 63.

       During his interview with the FBI in February 2021, Rahm claimed he was arrested in

Arizona for marijuana smuggling in the 1980’s but was freed after bribing a judge by paying him

$25,000. Rahm also detailed previously living a lavish lifestyle in the 1980's from being a drug

dealer, oftentimes smuggling large quantities drugs into the U.S. from Mexico.

       Also, despite his prior federal felony conviction from 1992, which he acknowledged to the

FBI during his interview in February 2021, Rahm had photographs on his telephone that were

taken on March 22, 2020 of him handling a firearm, as depicted below:




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       As a felon, Rahm is federally prohibited from possessing a firearm. See 18 U.S.C.

§ 922(g)(1). He had deleted the photographs, but the FBI agents recovered them from his phone.

In a text message sent on March 23, 2020, Rahm advised a friend checking in on him at the start

of the world-wide pandemic that he was “Locked and Loaded My Friend.”

       While he has now accepted responsibility by proceeding through a stipulated trial, Rahm’s

earlier recorded statements about the riot were the opposite: devoid of remorse and filled with

pride. He claimed he “made history” for what he did on January 6 and made light of his tromping

through the Capitol by bragging that he should have “shit on [Speaker Pelosi’s] chair.” The

objective appeared to be to depict the Capitol attack as victimless and justified. Neither is true.

       Considering his protracted criminal history, which did not result in any criminal history

points due to the passage of time, and his multiple sentences of probation, which have not had a

deterrent effect, the government requests a significant period of incarceration.

       C.      The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
               and Promote Respect for the Law

       The attack on the U.S. Capitol building and grounds, and all that it involved, was an attack

on the rule of law. “The violence and destruction of property at the U.S. Capitol on January 6

showed a blatant and appalling disregard for our institutions of government and the orderly

administration of the democratic process.”4 As with the nature and circumstances of the offense,

this factor supports a sentence of incarceration. Rahm’s criminal conduct, which includes corruptly

obstructing an official proceeding and celebrating the breach by declaring “history made”


4
  Federal Bureau of Investigation Director Christopher Wray, Statement before the House
Oversight and Reform Committee (June 15, 2021) (hereinafter “FBI Director Wray’s Statement”),
available                                                                                  at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Wray%20Testimony.pdf
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represents disrespect for the law. When Rahm entered the Capitol grounds and the Capitol itself,

it was abundantly clear to him that lawmakers and their staffs, and the police officers who tried to

protect them, were under siege. Yet, he mused about fighting through police.

         D.      The Need for the Sentence to Afford Adequate Deterrence

         Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

defendant. 18 U.S.C. § 3553(a)(2)(B-C), United States v. Russell, 600 F.3d 631, 637 (D.C. Cir.

2010).

                                         General Deterrence

         A significant sentence is needed “to afford adequate deterrence to criminal conduct” by

others. 18 U.S.C. ' 3553(a)(2)(B). The need to deter others is especially strong in cases involving

domestic terrorism, which the breach of the Capitol certainly was.5 Indeed, general deterrence may

be the most compelling reason to impose a sentence of incarceration. “Future would-be rioters

must be deterred.” (statement of Judge Nichols at sentencing, United States v. Thomas Gallagher,

1:21-CR-00041 Tr. 10/13/2021 at 37).

         The demands of general deterrence weigh strongly in favor of incarceration, as they will

for nearly every case arising out of the violent riot at the Capitol.

                                         Specific Deterrence

         There is also a need for specific deterrence here. Rahm has attempted to romanticize and

justify his actions, rather than offer contrition. Without some indication that Rahm has renounced,

learned from, or even regrets his conduct on January 6, there is a greater possibility that he will do


5
    See 18 U.S.C. § 2331(5) (defining “‘domestic terrorism’”).
                                                  28
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something similar again. His prior criminal sentences to probation have not deterred his criminal

conduct. Perhaps a sentence of incarceration will.

       E.      The Importance of the Guidelines

       “The Guidelines as written reflect the fact that the Sentencing Commission examined tens

of thousands of sentences and worked with the help of many others in the law enforcement

community over a long period of time in an effort to fulfill [its] statutory mandate.” Rita v. United

States, 551 U.S. 338, 349 (2007). As required by Congress, the Commission has “‘modif[ied] and

adjust[ed] past practice in the interests of greater rationality, avoiding inconsistency, complying

with congressional instructions, and the like.’” Kimbrough v. United States, 552 U.S. 85, 96

(2007); 28 U.S.C. § 994(m). In so doing, the Commission “has the capacity courts lack to ‘base its

determinations on empirical data and national experience, guided by professional staff with

appropriate expertise,’” and “to formulate and constantly refine national sentencing standards.”

Kimbrough, 552 U.S. at 108. Accordingly, courts must give “respectful consideration to the

Guidelines.” Id. at 101.

       F.      Unwarranted Sentencing Disparities

       Section 3553(a)(6) of Title 18 directs a sentencing court to “consider … the need to avoid

unwarranted sentence disparities among defendants with similar records who have been found

guilty of similar conduct”. So long as the sentencing court “correctly calculate[s] and carefully

review[s] the Guidelines range, [it] necessarily [gives] significant weight and consideration to the

need to avoid unwarranted disparities” because “avoidance of unwarranted disparities was clearly

considered by the Sentencing Commission when setting the Guidelines ranges.” Gall v. United

States, 552 U.S. 38, 54 (2007). In short, “the Sentencing Guidelines are themselves an anti-


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disparity formula.” United States v. Blagojevich, 854 F.3d 918, 921 (7th Cir. 2017); accord United

States v. Sanchez, 989 F.3d 523, 540 (7th Cir. 2021). Consequently, a sentence within the

Guidelines range will ordinarily not result in an unwarranted disparity. See United States v.

Smocks, D.D.C. 21-cr-198 (TSC), Sent. Hrg. Tr. at 49 (“as far as disparity goes, … I am being

asked to give a sentence well within the guideline range, and I intend to give a sentence within the

guideline range.”) (statement of Judge Chutkan).

       Moreover, Section 3553(a)(6) does not limit the sentencing court’s broad discretion “to

impose a sentence sufficient, but not greater than necessary, to comply with the purposes” of

sentencing. 18 U.S.C. § 3553(a). The goal of minimizing unwarranted sentencing disparities in

Section 3553(a)(6) is “only one of several factors that must be weighted and balanced,” and the

degree of weight is “firmly committed to the discretion of the sentencing judge.” United States v.

Coppola, 671 F.3d 220, 254 (2d Cir. 2012). The “open-ended” nature of the Section 3553(a) factors

means that “different district courts may have distinct sentencing philosophies and may emphasize

and weigh the individual § 3553(a) factors differently; and every sentencing decision involves its

own set of facts and circumstances regarding the offense and the offender.” United States v.

Gardellini, 545 F.3d 1089, 1093 (D.C. Cir. 2008). “[D]ifferent district courts can and will sentence

differently—differently from the Sentencing Guidelines range, differently from the sentence an

appellate court might have imposed, and differently from how other district courts might have

sentenced that defendant.” Id. at 1095. “As the qualifier ‘unwarranted’ reflects, this provision




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leaves plenty of room for differences in sentences when warranted under the circumstances.”

United States v. Brown, 732 F.3d 781, 788 (7th Cir. 2013).6

       Although all the other defendants discussed below participated in the Capitol breach on

January 6, 2021, many salient differences explain the differing recommendations and sentences.

While no previously sentenced case contains the same balance of aggravating and mitigating

factors present here, the sentences in the following cases provide suitable comparisons to the

relevant sentencing considerations in this case. Indeed, these crimes defy statutorily appropriate

comparisons to other obstructive related conduct in other cases. To try to mechanically compare

other Section 1512 defendants prior to January 6, 2021, would be a disservice to the magnitude of

what the riot entailed and signified.

       The Court may compare Rahm’s conduct to that of Richard Michetti, who saw rioters

fighting police officers outside the Capitol and saw tear gas deployed yet entered the Capitol

anyway because he had to “stop the vote it’s fraud this is our country.” Michetti pleaded guilty to

a single count of violating Section 1512(c)(2). United States v. Richard Michetti, No. 21-cr-232-

1 (CRC). Similarly to Rahm, Michetti texted, “we stormed the building and they held us back with

spray and teargas and paintballs” and encouraged other rioters to fight with police.

       Unlike Rahm, Michetti had no prior criminal history and was credited with taking anger

management classes after his arrest. The government recommended 18 months incarceration in




6
 The Guidelines ranges in Capitol siege cases may be more likely to understate the severity of the
offense conduct. See United States v. Knutson, D.D.C. 22-cr-31 (FYP), Aug. 26, 2022 Sent. Hrg.
Tr. at 24-25 (“If anything, the guideline range underrepresents the seriousness of [the defendant’s]
conduct because it does not consider the context of the mob violence that took place on January
6th of 2021.”) (statement of Judge Pan).

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that case and Judge Cooper sentenced Michetti to nine months’ incarceration and two years’

supervised release.

          VII. RESTITUTION

          Under 18 U.S.C. § 3556, a sentencing court must determine whether and how to impose

restitution in a federal criminal case. Because a federal court possesses no “inherent authority to

order restitution,” United States v. Fair, 699 F.3d 508, 512 (D.C. Cir. 2012), it can impose

restitution only when authorized by statute, United States v. Papagno, 639 F.3d 1093, 1096 (D.C.

Cir. 2011). Two general restitution statutes provide such authority. First, the Victim and Witness

Protection Act of 1982 (“VWPA”), Pub. L. No. 97-291 § 3579, 96 Stat. 1248 (now codified at 18

U.S.C. § 3663), “provides federal courts with discretionary authority to order restitution to victims

of most federal crimes.” Papagno, 639 F.3d at 1096. Second, the Mandatory Victims Restitution

Act (“MVRA”), Pub. L. No. 104-132 § 204, 110 Stat. 1214 (codified at 18 U.S.C. § 3663A),

“requires restitution in certain federal cases involving a subset of the crimes covered” in the

VWPA. Papagno, 639 F.3d at 1096. The applicable procedures for restitution orders issued and

enforced under these two statutes is found in 18 U.S.C. § 3664. See 18 U.S.C. § 3556 (directing

that sentencing court “shall” impose restitution under the MVRA, “may” impose restitution under

the VWPA, and “shall” use the procedures set out in Section 3664).

          The VWPA and MVRA share certain features. Both require that restitution “be tied to the

loss caused by the offense of conviction.” Hughey v. United States, 495 U.S. 411, 418 (1990)

(interpreting the VWPA); see United States v. Clark, 747 F.3d 890, 897 (D.C. Cir. 2014)

(restitution under the MVRA limited to the “offense of conviction” under Hughey).7 Both require



7
    While both statutes generally limit restitution to losses resulting from conduct that is the basis of
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identification of a victim, defined in both statutes as “a person directly and proximately harmed as

a result of” the offense of conviction. 8 See 18 U.S.C. § 3663(a)(2) (VWPA); 18 U.S.C. §

3663A(a)(2). “In view of the purpose of the MVRA and the interpretation of the VWPA's

definition of ‘victim,’ we agree with the Government that it is ‘inconceivable that ... Congress

somehow meant to exclude the Government as a potential victim under the MVRA when it adopted

the definition of ‘victim’ contained in the VWPA.’” United States v. Ekanem, 383 F.3d 40, 44 (2d

Cir. 2004).

           Both statutes identify similar covered costs, including lost property and certain

    expenses of recovering from bodily injury. See Papagno, 639 F.3d at 1097-97; 18 U.S.C.

    §§ 3663(b), 3663A(b). Finally, under both the statutes, the government bears the burden by a

    preponderance of the evidence to establish the amount of loss suffered by the victim. United

    States v. Bikundi, 926 F.3d 761, 791 (D.C. Cir. 2019). The relevant inquiry is the scope of the

    defendant’s conduct and the harm suffered by the victim as a result. See Emor, 850 F. Supp.

    2d at 202. The use of a “reasonable estimate” or reasonable approximation is sufficient,

    “especially in cases in which an exact dollar amount is inherently incalculable.”9 United States




the offense of conviction, they also authorize the court to impose restitution under the terms of a
plea agreement. See 18 U.S.C. § 3663(a)(3); 18 U.S.C. § 3663A(a)(3); see also United States v.
Zerba, 983 F.3d 983, 986 (8th Cir. 2020); United States v. Giudice, 2020 WL 220089, at *5 (D.N.J.,
Jan. 15, 2020). The defendant in this case did not enter into a plea agreement.
8
  The government or a governmental entity can be a “victim” for purposes of the VWPA and
MVRA. See United States v. Emor, 850 F. Supp.2d 176, 204 n.9 (D.D.C. 2012) (citations omitted).
9
  The sentencing court should “articulate the specific factual findings underlying its restitution
order in order to enable appellate review.” Fair, 699 F.3d at 513. Here, the Court should find
that Rahm’s conduct in entering the Capitol building as part of a mob caused damage to that
building.

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v. Gushlak, 728 F.3d 184, 196 (2d Cir. 2013); see United States v. Sheffield, 939 F.3d 1274,

1277 (11th Cir. 2019) (estimating the restitution figure is permissible because “it is

sometimes impossible to determine an exact restitution amount”) (citation omitted); United

States v. James, 564 F.3d 1237, 1246 (10th Cir. 2009) (restitution order must identify a

specific dollar amount but determining that amount is “by nature an inexact science” such that

“absolute precision is not required”) (citation omitted); United States v. Burdi, 414 F.3d 216,

221 (1st Cir. 2005) (same); see also Paroline v. United States, 572 U.S. 434, 459 (2014)

(observing in the context of the restitution provision in 18 U.S.C. § 2259 that the court’s job to

“assess as best it can from available evidence the significance of the individual defendant’s

conduct in light of the broader casual process that produced the victim’s losses . . . cannot be a

precise mathematical inquiry”).

        The statutes also differ in significant respects. As noted above, the VWPA is a

discretionary restitution statute that permits, but does not require, the sentencing court to impose

restitution in any case where a defendant is convicted under Title 18 or certain other offenses in

Title 21 or Title 49. 18 U.S.C. § 3663(a). In deciding whether to impose restitution under the

VWPA, the sentencing court must take account of the victim’s losses, the defendant’s financial

resources, and “such other factors as the court deems appropriate.” United States v. Williams, 353

F. Supp. 3d 14, 23-24 (D.D.C. 2019) (quoting 18 U.S.C. § 3663(a)(1)(B)(i)).

        By contrast, as noted above, the MVRA applies only to certain offenses, such as a “crime

of violence,” § 3663A(c)(1)(A), or “Title 18 property offenses ‘in which an identifiable victim . .

. has suffered a physical injury or pecuniary loss,’” Fair, 699 F.3d at 512 (citation omitted), but it




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 requires imposition of full restitution without respect to a defendant’s ability to pay.10 One of the

 offenses for which Alford was convicted, 18 U.S.C. § 1752(a)(1), triggers mandatory restitution

 under the MVRA as an “offense against property” that resulted in pecuniary loss for the

 Architect of the Capitol, see 18 U.S.C. § 3663A(c)(1)(A)(ii).

        The VWPA also provides that restitution ordered under Section 3663 “shall be issued

 and enforced in accordance with section 3664.” 18 U.S.C. § 3663(d). Because this case involves

 the related criminal conduct of hundreds of defendants, the Court has discretion to: (1) hold the

 defendants jointly and severally liable for the full amount of restitution owed to the victim(s),

 see 18 U.S.C. § 3664(f)(1)(A)(requiring that, for restitution imposed under § 3663, “the court

 shall order restitution to each victim in the full amount of each victim’s losses as determined by

 the court and without consideration of the economic circumstances of the defendant”); or (2)

 apportion restitution and hold the defendant and other defendants responsible only for each

 defendant’s individual contribution to the victim’s total losses. 18 U.S.C. § 3664(h). That latter

 approach is appropriate here.

       More specifically, the Court should require Rahm’s to pay $2,000 in restitution for his

convictions on Counts One through Five. This amount fairly reflects Rahm’s role in the offense

and the damages resulting from his conduct. Moreover, in cases where the parties have entered

into a guilty plea agreement, $2,000 has consistently been the agreed upon amount of restitution

and the amount of restitution imposed by judges of this Court where the defendant was not directly




 10
   Both statutes permit the sentencing court to decline to impose restitution where doing so will
 “complicat[e]” or “prolong[]” the sentencing process. See 18 U.S.C. §§ 3663(a)(1)(B)(ii),
 3663A(c)(3)(B).
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and personally involved in damaging property. Accordingly, such a restitution order avoids

sentencing disparity. As of October 14, 2022, the government’s estimate of damages caused by

the riot at the United States Capitol, a figure based on loss estimates supplied by the Architect of

the Capitol, was $2,881,360.20.

       Here, as permitted under 18 U.S.C. § 3663(a)(3), Rahm should be ordered to pay $2,000

in restitution to the Architect of the Capitol, which reflects in part the role Rahm played in the riot

on January 6.11

       Rahm’s restitution payment must be made to the Clerk of the Court, who will forward the

payment to the Architect of the Capitol. See PSR ¶ 158.

     VIII. CONCLUSION

       For the reasons set forth above, the government recommends that the Court impose a

sentence of imprisonment of 21 months, which is within the Guidelines range as calculated by the

government and probation, three years of supervised release, restitution of $2,000 and the

mandatory $170 in special assessments.

                                               Respectfully submitted,

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11
  Unlike under the Sentencing Guidelines for which (as noted above) the government does not
qualify as a victim, see U.S.S.G. § 3A1.2 cmt. n.1, the government or a governmental entity can
be a “victim” for purposes of the VWPA. See United States v. Emor, 850 F. Supp.2d 176, 204 n.9
(D.D.C. 2012) (citations omitted).
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